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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION

TERRA HAMMONS                                                              PLAINTIFF

v.                         CASE NO. 4:16-CV-00720 BSM

DYNAMIC RECOVERY SOLUTIONS LLC                                           DEFENDANT

                                     JUDGMENT

      Pursuant to the order entered on March 8, 2017 [Doc. No. 8], judgment is entered in

favor of plaintiff Terra Hammons against defendant Dynamic Recovery Solutions in the

amount of $3,925, and this case is dismissed.

      IT IS SO ORDERED this 17th day of April 2017.




                                                ________________________________
                                                UNITED STATES DISTRICT JUDGE
